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                                                                                                 MONTROSE MULTIFAMILY MEMBERS II, LLC
06/16/22
Accrual Basis                                                                                                        Profit & Loss
                                                                                                              May 2021 through May 2022
                                              Jun 21     Jul 21       Aug 21     Sep 21      Oct 21      Nov 21       Dec 21      Jan 22      Feb 22      Mar 22      Apr 22      May 22       TOTAL
    Ordinary Income/Expense
        Income
             Rental Income                    31,357     38,961       31,215      32,310      34,338      35,980       36,051      37,745      43,207      51,584      51,001      51,372       475,121
             Rental Income - Passthrough        837        1,085         854         949         957         916         1,313       1,074      1,348        1,565      1,663       1,677        14,238
             Rental Income - Late and Admin      21          58           23         303         624         218           30         491         362         172          38         758         3,098
             Rental Income - Other            (2,912)     (4,894)      4,933        2,768       1,222       1,564        4,852           0           0           0           0           0        7,533
             Rental Concessions               (3,349)     (2,753)           0        282       (1,989)     (1,700)      (1,891)          0      (3,630)     (6,303)     (2,467)     (2,183)      (25,983)
        Total Income                          25,954     32,457       37,025      36,612      35,152      36,978       40,355      39,310      41,287      47,018      50,235      51,624       474,007
        Expense
             Advertising & Promotion               0              0         0           0           0           0         461            0           0           0           0           0          461
             Cleaning Services                  275               0         0           0           0           0            0        300         120        1,150        200            0        2,045
             Commission                            0              0         0           0           0           0            0           0           0           0        250            0          250
             Inspection Fees                       0              0         0        250            0           0            0        942            0           0           0        745         1,937
             Insurance                         3,169       3,169       3,569        3,569       3,569       3,569            0       4,444      9,444        4,722      4,722       4,722        48,668
             Pest Control                       844               0         0           0        130            0       2,185         217            0        194            0        909         4,479
             Property Maintenance               820               0         0        645        3,187       3,663       2,994        2,783      3,371        3,368      1,814       1,440        24,085
             Property Management                   0              0    4,435        4,435       4,435       1,587       1,587        1,587      1,587        1,587      1,587       1,587        24,414
             Property Tax                          0              0         0           0           0           0            0     20,000            0    117,604       (5,027)          0      132,577
             Repairs & Maintenance              314        4,477       1,488         463         700        1,884         844         783       1,808         817       2,534       1,928        18,040
             Utilities                         2,030       1,301       2,555        2,630     28,228        1,417        3,344       5,218      2,926        2,517      3,316       1,937        57,419
             Waste Management                   751        1,027            0        298         438          63          702         476         594         488         455         575         5,867
        Total Expense                          8,203       9,974      12,047      12,290      40,687      12,183       12,117      36,750      19,850     132,447        9,851     13,843       320,242
    Net Ordinary Income                       17,751     22,483       24,978      24,322       (5,535)    24,795       28,238        2,560     21,437      (85,429)    40,384      37,781       153,765
    Other Income/Expense
        Other Expense
             Bank Service Charges                  0              0         0         60            0        716          358         537         925         179         537         179         3,491
             Legal & Professional                  0       1,800       1,200        1,429        750        1,800      12,105            0           0           0           0           0       19,084
             Receiver Prof. Fees                   0     52,501             0        903            0           0            0           0           0           0           0           0       53,404
             Amortization Expense                  0              0   26,678      26,678      26,678      26,678       26,678      88,938      37,054      37,054      37,054      37,054       370,544
             Interest                              0    283,154       46,695      77,825      77,825      77,825       77,825      36,789      77,825      88,409      77,825      77,825       999,822
        Total Other Expense                        0    337,455       74,573     106,895     105,253     107,019      116,966     126,264     115,804     125,642     115,416     115,058     1,446,345
    Net Other Income                               0    (337,455)     (74,573)   (106,895)   (105,253)   (107,019)    (116,966)   (126,264)   (115,804)   (125,642)   (115,416)   (115,058)   (1,446,345)
Net Income                                    17,751    (314,972)     (49,595)    (82,573)   (110,788)    (82,224)     (88,728)   (123,704)    (94,367)   (211,071)    (75,032)    (77,277)   (1,292,580)




                                                                                                                                                                                                            Exhibit 12
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